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EXHIBIT “D”
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EXECUTION COPY

CONSULTING AGREEMENT

This Consulting Agreement (this “Agreement”), effective as of the Closing Date
under the Equity Security Purchase Agreement referred to below (the “Effective Date”), is entered
into between Blue Diamond Sheet Metal, Inc. (“Blue Diamond”), Diam-N-Blue Mechanical Corp.
(“Diam-N-Blue”) and Mirage Mechanical Systems, Inc. (“Mirage”), each a New York corporation,
and Blue Station Realty LLC (“Blue Station), a New York limited liability company (Blue
Diamond, Dian-N-Blue, Mirage and Blue Station are referred to herein, individually, as a
“Company” and collectively, as the “Companies”), and Douglas Belz (the “Consultant”). The
Companies and the Consultant are collectively referred to herein as the “Parties” and individually
as a “Party”.

The Companies are in the business of HVAC/sheet metal, design, detailing,
installing and servicing of ductwork and equipment (the “Business”).

On the date of this Agreement, the Consultant has entered into an equity security
purchase agreement with the Companies (the “Equity Security Purchase Agreement”) pursuant to
which he has agreed to sell all of his equity interests in the Companies and resign as a director,
officer, manager or holder of any comparable positions in the Companies.

The Companies desire to retain the Consultant to perform consulting services with
respect to guidance and advice solely in connection with the Business, and the Consultant is willing
to perform such services (the “Consulting Services”) on a non-exclusive basis, upon the terms and
conditions herein.

NOW, THEREFORE, in consideration of the foregoing and the mutual covenants
hereinafter set forth, the parties hereto do hereby agree, as follows:

1. Retentions Consultant Duties

(a) Subject to the terms and conditions set forth herein, the Companies
hereby retain the Consultant, and the Consultant hereby accepts such retention, to act as a
consultant, on a non-exclusive basis, with respect to providing the Consulting Services..

{b) The Consultant will, subject to his availability, provide the
Consulting Services, from time-to-time, upon the request of the Chief Executive Officer of Blue
Diamond, but shall be required to devote only such time (in no event to exceed five (5) hours in
any one-month period) as the Consultant believes necessary to provide the Consulting Services.
The Consultant may, in his sole discretion, provide the Consulting Services by e-mail, telephone
or other means of communication as determined by the Consultant and shail not be required to
provide the Consulting Services at any of the Companies’ offices.

2. Term.

(a) The term (the “Term”) of this Agreement shall be in effect from the
Effective Date until the fifteenth (15") day of the forty-second (42") month after the Effective

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Date, such that forty-two (42) payments shall be made under this Agreement pursuant to Section
3(a) hereof.

(b) Other than ag set forth in Section 3(e), no Party shall have the right
to terminate this Agreement for any reason.

3. Compensation: Acceleration; Prepayment.

(a) As compensation for the Consulting Services provided hereunder,
the Companies jointly and severally agree to pay the Consultant (or an Affiliate or Successor as
defined in Section 7(b)) $3,683.33 on the date hereof and $3,683.33 on the fifteenth (15th) day of
each month during the Term (which amounts include a $350 gas allowance in lieu of the gas credit
card currently provided to the Consultant) such that the Consultant shall receive a total of forty-
two (42) payments (all of which amounts have been earned by the Consultant prior to the Effective
Date hereof but are payable as aforesaid).

(b) In addition to the compensation set forth in Section 3(a), the
Companies shall continue to provide Company owned cell phones to, and maintain cell phone
service for, the Consultant and the members of the Consultant’s family, in the manner currently
provided and at the sole cost and expense of the Companies, for the period commencing on the
Effective Date and terminating on the expiration of the term of the Companies’ current agreement
with the provider of such cell phone service, after which period the Consultant and such members
of the Consultant’s family may retain their current cell phone numbers and equipment at their sole
cost and expense. The provision of cell phone service shall comply with the applicable rules set
forth under Treas. Reg. §1.409A-3(i)(1 (iv).

(c) All amounts due and owing under this Agreement during the Term
(including the value of the cell phones and service set forth in Section 3(a)) shall immedately be
paid in full upon a Change of Control (as defined below) and if the Companies fail to make any
payment within fifteen (15) days after Consultant's demand for such payment such payment shall
bear interest at the maximum rate permitted by law until paid in full,

(d) The Compantes may terminate this Agreement at any time and the
Consultant shall have no further obligation to provide the Consulting Services upon payment to
the Consultant of the remaining balance of compensation (including the value of the cell phones
and service set forth in Section 3{a)) due to the Consultant over the remainder of the Term as set
forth in Section 3{a)

(e) For purposes of this Agreement but subject to the provisions of
Treas. Reg. §1.409A-3(i)(5)(v), (vi) and (vii), a “Change of Control” means the occurrence of any
of the following events:

Gi) A change in the ownership of any of the Companies which
occurs on the date that any one person, or more than one person acting as a group (“Person”),
acquires ownership of the stock of such Company that, together with the stock held by such Person,
constitutes more than fifty percent (50%) of the total power of the stock of such Company;
provided, however, that for purposes of this subsection, the acquisition of additional stock by any

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one Person who owns more than fifty percent (50%) of the total voting power of the stock of such
Company, will not be considered a Change of Control, or

(ii) A change in the effective control of any of the Companies
which occurs on the date that a majority of members of the board or comparable governing body
of such Company (the “Board”) is replaced during any twelve (12) month period by Persons whose
appointment or election is not endorsed by a majority of the members of the Board prior to the
date of the appointment or election of such Persons. For purposes of this clause (ii), if any Person
is considered to be in effective control of such Company, the acquisition of additional control of
such Company by the same Person wil] not be considered a Change of Control; or

(iii) A change in the ownership of a substantial portion of any of
the Companies’ assets which occurs on the date that any Person acquires (or has acquired during
the twelve (12) month period ending on the date of the most recent acquisition by such Person or
Persons) assets from such Company that have a total gross fair market value equal to or more than
fifty percent (50%) of the total gross fair market value of all of the assets of such Company
immediately prior to such acquisition or acquisitions; provided, however, that for purposes of this
subsection (iii), the following will not constitute a change in the ownership of a substantial portion
of such Company’s assets; (A) a transfer to an entity that is controlled by such Company’s
equityholders immediately after the transfer, or (B) a transfer of assets by such Company to: (1)
an equityholder of such Company (immediately before the asset transfer) in exchange for or with
respect to such Company’s stock, (2) an entity, fifty percent (50%) or more of the total value or
voting power of which is owned, directly or indirectly, by such Company, (3) a Person that owns,
directly or indirectly, fifty percent (50%) or more of the total value or voting power of all
outstanding stock of such Company, or (4) an entity, at least fifty percent (50%) of the total value
or voting power of which is owned, directly or indirectly, by a Person described in this subsection
(iii)(B\(3). For purposes of this subsection (iii), gross fair market value means the value of the
assets of such Company, or the value of the assets being disposed of, determined without regard
to any liabilities associated with such assets.

For purposes of this definition, Persons will be considered to be acting as a group
if they are owners of an entity that enters into a merger, consolidation, purchase or acquisition of
stock, or similar business transaction with a Company.

Further and for the avoidance of doubt, a transaction will not constitute a Change
of Control if: (i) its sole purpose is to change the state of a Company’s incorporation or
organization, or (ii) its sole purpose is to create a holding company that will be owned in
substantially the same proportions by the Persons who held such Company’s securities
immediately before such transaction.

4, Independent Contractor. The relationship created hereunder is that of the
Consultant acting as an independent contractor. It is expressly acknowledged and agreed that the
Consultant shall have no authority to bind the Campanies to any agreement or obligation with any
third party. The Consultant acknowledges and agrees further that, since the Consultant is not an
employee of any of the Companies, the Companies shall not be responsible for the withholding or
payment of any taxes, Nothing in this Agreement shall be construed to interfere with or otherwise
affect the rendering of services by the Consultant in accordance with the Consultant’s independent

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business judgment or restrict the services the Consultant may provide to any Person other than the
Companies, whether as an employee, consultant or otherwise.

5. Representations and Warranties of the. Consultant: The Consultant
hereby represents and warrants to the Companies:

(a) it has the power and authority to execute and deliver this Agreement
and to perform the duties and responsibilities contemplated hereby, and

(b) that neither the execution of this Agreement nor performance
hereunder will (i) violate, conflict with or result in a breach of any provisions of, or constitute a
default (or an event which, with notice or lapse of time or both, would constitute a default) under
the terms, conditions or provisions of any contract, agreement or other instrument or obligation to
which Consultant is a party, or by which the Consultant may be bound, or (ii) violate any order,
judgment, writ, injunction or decree applicable to the Consultant.

a a Ww ti | Companies
hereby jointly and severally represent and warrant to the Consultant:

(a) each Company is duly organized, validly existing and in good
standing under the laws of its State of organization,

(b) each Company has full corporate power and authority to execute and
deliver this Agreement and to perform the duties and responsibilities contemplated hereby;

(c) the execution, delivery and performance of this Agreement has been
duly authorized by all necessary corporate actions by each Company, and

(d) that neither the execution of this Agreement nor performance
hereunder will (i) violate, conflict with or result in a breach of any provisions of, or constitute a
default (or an event which, with notice or lapse of time or both, would constitute a default) under
the terms, conditions or provisions of its certificate of incorporation or any comparable agreement
or other instrument or obligation to which it is a party, or by which it may be bound, or (ii) violate
any order, judgment, writ, injunction or decree applicable to it.

7. Successors; Assignment and Beneficiaries,

(a) Successors, Each Company will require any successor (whether
direct or indirect, by purchase, merger, consolidation, reorganization, sale of assets or otherwise)
to the business or assets of such Company, to assume and agree to perform this Agreement in the
same matmner and to the same extent such Company would be required to perform if no such
succession had taken place, As used in this Agreement, “Company” shall mean a Company as
herein before defined and any successor to its business and/or assets (by merger, purchase or
otherwise) or which otherwise becomes bound by the terms and provisions of this Agreement by
operation of law.

(b) cand Beneficiaries. No Company may assign its rights or
obligations under this Agreement. No ri ights or obligations of the Consultant under this Agreement

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may be assigned or transferred by the Consultant other than to an Affiliate of the Consultant. All
rights of the Consultant or any Affiliate of the Consultant hereunder shall inure to the benefit of
and be enforceable by and against the Consultant’s or its Affiliates’ beneficiary of beneficiaries,
personal or legal representatives, or estate, to the extent any such person succeeds to the
Consultant’s interests under this Agreement (any such person, a “Successor”), For purposes of this
Section 7(b), Affiliate of the Consultant means any trust created by the Consultant for estate
planning purposes solely for the benefit of the Consultant or any Member of his Immediate Family,
and Member of his Immediate Family means, with respect to the Consultant, his spouse, parents,
brothers, sisters, children (natural or adopted), stepchildren and grandchildren but no other
members of his extended family.

8. Notices. Any notice required or permitted to be given pursuant to this
Agreement shal! be deemed to have been duly given when delivered by hand or sent by certified
or registered mail, return receipt requested and postage prepaid, overnight mail or facsimile as
follows:

If to the Companies: Blue Diamond Sheet Metal, Inc.
Diam-N-Blue Mechanical Corp.
Mirage Mechanical Systems, Inc.
Blue Station Realty LLC
1165 Station Rd,
Medford, NY 11763
Attention: Al LaBella
Email: gabelavhelysheennetal com

with a copy (which shall not constitute notice) to:

Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway, Suite 400
Ronkonkoma, NY 11779

Attention: Joseph N. Campolo, Esq.
Facsimile: (631) 738-0659

Email: jcampologzmmllp.com

If to the Consultant; Douglas Belz
22 S, Gillette Avenue
Bayport. NY 11705

Email: rbelz‘¢. dnbinechanical,com

with a copy (which shall not constitute notice) to:

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Ruskin Moscou Faltisehek, P.C.
East Tower, 15th Floor

1423 RXR Plaza

Uniondale. NY 11556-1425
Attention: Adam P. Silvers, Esq.
Facsimile: (516) 663-6719
Email: asilvers(2rmfpc.com

or at such other address as any party shall designate by notice to the other party given in
accordance with this Paragraph 8.

9. Governing Law. This Agreement shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York applicable to agreements made
and to be performed entirely in New York and all legal actions arising out of this Agreement shall
be subject to the exclusive jurisdiction of the appropriate Federal or State courts of the States of
New York.

10. ‘Waiver of Breach: Partial Invalidity. The waiver by any Party of abreach
of any provision of this Agreement shall not operate or be construed as a waiver of any subsequent
breach. If any provision, or part thereof, of this Agreement shall be held to be invalid or unen-
forceable, such invalidity or unenforceability shal! attach only to such provision and not in any
way affect or render invalid or unenforceable any other provisions of this Agreement, and this
Agreement shal! be carried out as if such invalid or unenforceable provision, or part thereof, had
been reformed, and any court of competent jurisdiction or arbiters, as the case may be, are
authorized to so reform such invalid or unenforceable provision, or part thereof, so that it would
be valid, legal and enforceable to the fullest extent permitted by applicable law.

11. Representation by Counsel: Interpretation. Each Party acknow-ledges
that it or he has been represented by counsel, or has been afforded the opportunity to be represented
by counsel in connection with this Agreement and the transactions contemplated hereby,
Accordingly, any rule or Jaw or any legal decision that would require the interpretation of any
claimed ambiguities in this Agreement against the party that drafted it has no application and ts
expressly waived by the parties. The provisions of this Agreement shall be interpreted in a
reasonable manner to give effect to the intent of the Parties.

12. Entire Agreement, This Agreement (and the documents referred to in the
Equity Security Purchase Agreement) constitutes the entire agreement between the Parties and
there are no representations, warranties or commitments except as set forth herein or therein. This
Agreement supersedes all prior agreements, understandings, negotiations and discussions, whether
written or oral, of the Parties hereto relating to the transactions contemplated by this Agreement.
This Agreement may be amended only by a writing executed by the Parties hereto.

13, Gounterparts: Faesinile Signatures. This Agreement may be executed in
two or more counterparts, which, when taken together, shall constitute one complete Agreement.
Signatures transmitted herein via facsimile or other electronic image shall be deemed to be original
signatures,

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en 1s Lex pens: During the Term and thereafter, the
Companies joiritly and severally agree: (i) to pay and reimburse the Consultant for reasonable and
documented out-of-pocket costs and expenses incurred in connection with the enforcement or
preservation of any rights under this Agreement, including the reasonable and documented fees,
disbursements and other charges of its counsel; and (ii) to pay, indemnify and hold harmless the
Consultant from and against any and all other liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever,
including reasonable and documented fees, disbursements and other charges of counsel for the
Consultant in connection with an event of default or noncompliance with or liability applicable to
the operations of the Companies; provided that the Companies shall not have any obligation

hereunder to the Consultant with respect to damages caused directly by the gross negligence or

willful misconduct of the Consultant as determined by a non-appealable final judgment.

[Signature page follows]

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IN WITNESS WHEREOF, the Consultant and the Companies have executed or
have caused this Agreement to be duly executed as of July 1, 2020 to be effective as of the

Effective Date.

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COMPANIES:

By:,
Name: Al LaBella”
Title: Vice President

DIAM-N-BLUE

By:
Name:
Title: Vice President

By: ,
Name: A! taBella
Title: Vice President

BLUE STATION REALTY LLC

Byt|
Name: Mewhih: LaBella

Title; Authorized Member

CONSULTANT:

Douglas Belz

[Consulting Agreement Signature Page]

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IN WITNESS WHEREOE, the Consultant and the Companies have executed or
have caused this Agreement to be duly executed as of July 1, 2020 to be effective as of the
Effective Date.

COMPANIES:
BLUE DIAMOND SHEET METAL, INC.
By:

Name: Al LaBella
Title: Vice President

DIAM-N-BLUE MECHANICAL CORP.

By:
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Authorized Member

CONSULTANT:

Douglas Belz

{Consulting Agreement Signature Page]

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EXECUTION COPY

CONSULTING AGREEMENT

This Consulting Agreement (this “Agreement”, effective as of the Closing Date
under the Equity Security Purchase Agreement referred to below (the “Effective Date”), is entered
into between Blue Diamond Sheet Metal, Inc. (“Blue Diamond”), Diam-N-Blue Mechanical Corp.
(“Diam-N-Blue”) and Mirage Mechanical Systems, Inc. (“Mirage”), each a New York corporation,
and Blue Station Realty LLC (“Blue Station), a New York limited liability company (Blue
Diamond, Dian-N-Bluc, Mirage and Blue Station are referred to herein, individually, as a
“Company” and collectively, as the “Companies”), and James Dvorak (the “Consultant”), The
Companies and the Consultant are collectively referred to herein as the “Parties” and individually
as a “Party”.

The Companies are in the business of HVAC/sheet metal, design, detailing,
installing and servicing of ductwork and equipment (the “Business”).

On the date of this Agreement, the Consultant has entered into an equity security
purchase agreement with the Companies (the “Equity Security Purchase Agreement”) pursuant to
which he has agreed to sell all of his equity interests in the Companies and resign as a director,
officer, manager or holder of any comparable positions in the Companies.

The Companies desire to retain the Consultant to perform consulting services with
respect to guidance and advice solely in connection with the Business, and the Consultant is willing
to perform such services (the “Consulting Services”) on a non-exclusive basis, upon the terms and
conditions herein.

NOW, THEREFORE, in consideration of the foregoing and the mutual covenants
hereinafter set forth, the parties hereto do hereby agree, as follows:

(a) Subject to the terms and conditions set forth herein, the Companies
hereby retain the Consultant, and the Consultant hereby accepts such retention, to act as a
consultant, on a non-exclusive basis, with respect to providing the Consulting Services.

(b) The Consultant will, subject to his availability, provide the
Consulting Services, from time-to-time, upon the request of the Chief Executive Officer of Blue
Diamond, but shall be required to devote only such time (in no event to exceed five (5) hours in
any one-month period) as the Consultant believes necessary to provide the Consulting Services.
The Consultant may, in his sole discretion, provide the Consulting Services by e-mail, telephone
or other means of communication as determined by the Consultant and shall not be required to
provide the Consulting Services at any of the Companies’ offices.

2, Term.

(a) The term (the “Term”) of this Agreement shall be in effect from the
Effective Date until the fifteenth (15") day of the forty-second (42™) month after the Effective

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Date, such that forty-two (42) payments shall be made under this Agreement pursuant to Section
3(a) hereof.

(b) Other than as set forth in Section 3(e), no Party shall have the right
to terminate this Agreement for any reason.

3, Conipensation:.

Acceleration: Prepayment.

(a) As compensation for the Consulting Services provided hereunder,
the Companies jointly and severally agree to pay the Consultant (or an Affiliate or Successor as
defined in Section 7(b)) $3,683.33 on the date hereof and $3,683.33 on the fifteenth (15th) day of
each month during the Term (which amounts include a $350 gas allowance in lieu of the gas credit
card currently provided to the Consultant) such that the Consultant shall receive a total of forty-
two (42) payments (all of which amounts have been earned by the Consultant prior to the Effective
Date hereof but are payable as aforesaid).

(b) ‘In addition to the compensation set forth in Section 3(a), the
Companies shall continue to provide Company owned cell phones to, and maintain cell phone
service for, the Consultant and the members of the Consultant’s family, in the manner currently
provided and at the sole cost and expense of the Companies, for the period commencing on the
Effective Date and terminating on the expiration of the term of the Companies’ current agreement
with the provider of such cell phone service, after which period the Consultant and such members
of the Consultant’s family may retain their current cell phone numbers and equipment at their sole
cost and expense, The provision of cell phone service shall comply with the applicable rules set
forth under Treas. Reg. §1.409A-3(i)(1)(iv).

(c) All amounts due and owing under this Agreement during the Term
(including the value of the cell phones and service set forth in Section 3(a)) shall immediately be
paid in full upon a Change of Control (as defined below) and if the Companies fail to make any
payment within fifteen (15) days after Consultant’s demand for such payment such payment shall
bear interest at the maximum rate permitted by law until paid in full.

(d) The Companies may terminate this Agreement at any time and the
Consultant shall have no further obligation to provide the Consulting Services upon payment to
the Consultant of the remaining balance of compensation (including the value of the cell phones
and service set forth in Section 3(a)) due to the Consultant over the remainder of the Term as set
forth in Section 3(a)

(ce) For purposes of this Agreement but subject to the provisions of
Treas. Reg. §1.409A-3(i)(5)(v), (vi) and (vii), a “Change of Control” means the occurrence of any
of the following events:

(i) A change in the ownership of any of the Companies which
occurs on the date that any one person, or more than one person acting as a group (“Person”),
acquires ownership of the stock of such Company that, to gether with the stock held by such Person,
constitutes more than fifty percent (50%) of the total power of the stock of such Company;
provided, however, that for purposes of this subsection, the acquisition of additional stock by any

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one Person who owns more than fifty percent (50%) of the total voting power of the stock of such
Company, will not be considered a Change of Control; or

(ii) A change in the effective control of any of the Compamies
which occurs on the date that a majority of members of the board or comparable governing body
of such Company (the “Board”) is replaced during any twelve (12) month period by Persons whose
appointment or election is not endorsed by a majority of the members of the Board prior to the
date of the appointment or election of such Persons. For purposes of this clause (ii), ff any Person
is considered to be in effective contre! of such Company, the acquisition of additional control of
such Company by the same Person will not be considered a Change of Control; or

(iii) A change in the ownership of a substantial portion of any of
the Companies’ assets which occurs on the date that any Person acquires (or has acquired during
the twelve (12) month period ending on the date of the most recent acquisition by such Person or
Persons) assets from such Company that have a total gross fair market value equal to or more than
fifty percent (50%) of the total gross fair market value of all of the assets of such Company
immediately prior to such acquisition or acquisitions; provided, however, that for purposes of this
subsection (iii), the following will not constitute a change in the ownership of a substantial portion
of such Company’s assets; (A) a transfer to an entity that is controlled by such Company’s
equityholders immediately after the transfer, or (B) a transfer of assets by such Company to: (1)
an equityholder of such Company (immediately before the asset transfer) in exchange for or with
respect to such Company’s stock, (2) an entity, fifty percent (50%) or more of the total value or
voting power of which is owned, directly or indirectly, by such Company, (3) a Person that owns,
directly or indirectly, fifty percent (50%) or more of the total value or voting. power of all
outstanding stock of such Company, or (4) an entity, at least fifty percent (50%) of the total value
or voting power of which is owned, directly or indirectly, by a Person described in this subsection
(iii)(B)3). For purposes of this subsection (iii), gross fair market value means the value of the
assets of such Company, or the value of the assets being disposed of, determined without regard
to any liabilities associated with such assets.

For purposes of this definition, Persons will be considered to be acting as a group
if they are owners of an entity that enters into a merger, consolidation, purchase or acquisition of
stock, or similar business transaction with a Company.

Further and for the avoidance of doubt, a transaction will not constitute a Change
of Control ift G) its sole purpose is to change the state of a Company’s incorporation or
organization, or (ii) its sole purpose is to create a holding company that will be owned in
substantially the same proportions by the Persons who held such Company’s securities
immediately before such transaction,

4, ‘Independent Contractor, The relationship created hereunder is that of the
Consultant acting as an independent contractor. It is expressly acknowledged and agreed that the
Consultant shall have no authority to bind the Companies to any agreement or obligation with any
third party. The Consultant acknowledges and agrees further that, since the Consultant is not an
employee of any of the Companies, the Companies shall not be resporisible for the withholding or
payment of any taxes. Nothing in this Agreement shall be construed to interfere with or otherwise
affect the rendering of services by the Consultant in accordance with the Consultant’s independent

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business judgment or restrict the services the Consultant may provide to any Person other than the
Companies, whether as an employee, consultant or otherwise.

5. Representations and Warrantics of the Consultant. The Consultant
hereby represents and warrants to the Companies:

(a) it has the power and authority to execute and deliver this Agreement
and to perform the duties and responsibilities contemplated hereby; and

(b} that neither the execution of this Agreement nor performance
hereunder will (i) violate, conflict with or result in a breach of any provisions of, or constitute a
default (or an event which, with notice or lapse of time or both, would constitute a default) under
the terms, conditions or provisions of any contract, agreement or other instrument or obligation to
which Consultant is a party, or by which the Consultant may be bound, or (i) violate any order,
judgment, writ, injunction or decree applicable to the Consultant.

6. Representations and Warranties of the Companies, The = Companies
hereby jointly and severally represent and warrant to the Consultant:

(a) cach Company is duly organized, validly existing and in good
standing under the laws of its State of organization;

(b) each Company has full corporate power and authority to execute and
deliver this Agreement and to perform the duties and responsibilities contemplated hereby;

(c) the execution, delivery and performance of this Agreement has been
duly authorized by all necessary corporate actions by each Company; and

(d) that neither the execution of this Agreement nor performance
hereunder will (i) violate, conflict with or result in a breach of any provisions of, or constitute a
default (or an event which, with notice or lapse of time or both, would constitute a default) under
the terms, conditions or provisions of its certificate of incorporation or any comparable agreement
or other instrument or obligation to which it is a party, or by which it may be bound, or (ii) violate
any order, judgment, writ, injunction or decree applicable to it.

7. Successors; Assignment and Beneficiaries.

(a) Successors, Each Company will require any successor (whether
direct or indirect, by purchase, merger, consolidation, reorganization, sale of assets or otherwise)
to the business or assets of such Company, to assume and agree to perform this Agreement in the
same manner and to the same extent such Company would be required to perform if no such
succession had taken place. As used in this Agreement, “Company” shall mean a Company as
herein before defined and any successor to its business and/or assets (by merger, purchase or
otherwise) or which otherwise becomes bound by the terms and provisions of this Agreement by
operation of law.

(b) Assignment and Beneficiaries. No Company may assign its rights or
obligations under this Agreement. No rights or obligations of the Consultant under this Agreement

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may be assigned or transferred by the Consultant other than to an Affiliate of the Consultant. All
rights of the Consultant or any Affiliate of the Consultant hereunder shal! inure to the benefit of
and be enforceable by and against the Consultant’s or its Affiliates’ beneficiary of beneficiaries,
personal or legal representatives, or estate, to the extent any such person succeeds to the
Consultant’s interests under this Agreement (any such person, a “Successor”). For purposes of this
Section 7(b), Affiliate of the Consultant means any trust created by the Consultant for estate
planning purposes solely for the benefit of the Consultant or any Member of his Immediate Family,
and Member of his Immediate Family means, with respect to the Consultant, his spouse, parents,
brothers, sisters, children (natural or adopted), stepchildren and grandchildren but no other
members of his extended family.

8. Notices. Any notice required or permitted to be given pursuant to this
Agreement shall be deemed to have been duly given when delivered by hand or sent by certified
or registered mail, return receipt requested and postage prepaid, ovemight mail or facsimile as
follows:

If to the Companies: Blue Diamond Sheet Metal, Inc.
Diatm-N-Blue Mechanical Corp.
Mirage Mechanical Systems, Inc.
Blue Station Realty LLC
1165 Station Rd,
Medford, NY 11763
Attention: Al LaBella
Email: alabella@bdssheetmetal.com

with a copy (which shall not constitute notice) to:

Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway, Suite 400
Ronkonkoma, NY 11779

Attention: Joseph N. Campolo, Esq.
Facsimile: (631) 738-0659

Email: jeampolo@cmmilp.com

If to the Consultant: James Dvorak
179 Oakwood Avenue

with a copy (which shall not constitute notice) to:

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Ruskin Moscou Faltischek, P.C.
East Tower, 15th Floor

1425 RXR Plaza

Uniondale, NY 11556-1425
Attention: Adam P, Silvers, Esq.
Facsimile: GI6) 663- 6719

or at such other address as any party shall designate by notice to the other party given in
accordance with this Paragraph 8.

9. Governing Law. This Agreement shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York applicable to agreements made
and to be performed entirely in New York and all legal actions arising out of this Agreement shall
be subject to the exclusive jurisdiction of the appropriate Federal or State courts of the States of
New York.

10. Waiver of Breach; Partial Invalidity. The waiver by any Party ofa breach
of any provision of this Agreement shall not operate or be construed as a waiver of any subsequent
breach. If any provision, or part thereof, of this Agreement shall be held to be invalid or unen-
forceable, such invalidity or unenforceability shall attach only to such provision and not in any
way affect or render invalid or unenforceable any other provisions of this Agreement, and this
Agreement shall be carried out as if such invalid or unenforceable provision, or part thereof, had
been reformed, and any court of competent jurisdiction or arbiters, as the case may be, are
authorized to so reform such invalid or unenforceable provision, or part thereof, so that it would
be valid, legal and enforceable to the fullest extent permitted by applicable law.

ll. Representation by'Coinsels Interpretation. Each Party acknow-ledges
that it or he has been represented by counsel, or has been afforded the opportunity to be represented
by counsel in connection with this Agreement and the transactions contemplated hereby.
Accordingly, any rule or law or any legal decision that would require the interpretation of any
claimed ambiguities in this Agreement against the party that drafted it has no application and is
expressly waived by the parties. The provisions of this Agreement shail be interpreted in a
reasonable manner to give effect to the intent of the Parties.

ntire Apréamént, This Agreement (and the documents referred to in the
Equity Security Purchase Agreement) constitutes the entire agreement between the Parties and
there are no representations, warranties or commitments except as set forth herein or therein. This
Agreement supersedes all prior agreements, understandings, negotiations and discussions, whether
written or oral, of the Parties hereto relating to the transactions contemplated by this Agreement.
This Agreement may be amended only by a writing executed by the Parties hereto,

a ‘facsimile Signatures, This Agreement may be executed in
two or more counterparts, which, when taken together, shall constitute one complete Agreement,
Signatures transmitted herein via facsimile or other electronic image shall be deemed to be original
signatures,

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14. Indemnification; Expenses. During the Term and thereafter, the
Companies jointly and severally agree: (i) to pay and reimburse the Consultant for reasonable and
documented out-of-pocket costs and expenses incurred in connection with the enforcement or
preservation of any rights under this Agreement, including the reasonable and documented fees,
disbursements and other charges of its counsel; and (ii) to pay, indemnify and hold harmless the
Consultant from and against any and all other liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever,
including reasonable and documented fees, disbursements and other charges of counsel for the
Consultant in connection with an event of default or noncompliance with or liability applicable to
the operations of the Companies; provided that the Companies shall not have any obligation
hereunder to the Consultant with respect to damages caused directly by the gross negligence or
willful misconduct of the Consultant as determined by a non-appealable final judgment.

[Signature page follows]

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IN WITNESS WHEREOF, the Consultant and the Companies have executed or
have caused this Agreement to be duly executed as of July 1, 2020 to be effective as of the

Effective Date.

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COMPANIES:

BLUE DIAMOND SHE

Byi.

Name: Al LaBella

Title: Vice President

MIRAGE ME AL SYSTEMS, INC.

By: ,
Namp: AT LaBella [”

Title: Vice President

BLUE STATION REALTY LLC

Name: Meghan | SaBella
Title: Authorized Member

CONSULTANT:

James Dvorak

[Consulting Agreement Signature Page]

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IN WITNESS WHEREOF, the Consultant and the Companies have executed or
have caused this Agreement to bé duly executed as of July 1, 2020 to be effective’as of the
Effective Date.

COMPANIES:
BLUE DIAMOND SHEET METAL, INC.
By:

Name: Al LaBella
Title: Vice President

DIAM-N-BLUE MECHANICAL CORP,

By:
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC. —

By: ~
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title. Authorized Member

CONSULTANT:

Jatiek Dvorak

[Consulting Agreement Signature Page]

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